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          In the United States District Court for the
                Eastern District of New York
 -------------------------------------------------------------x
 CAPITOL 7 FUNDING,

                                 Plaintiff,
                 v.
                                                                  Docket No.
                                                                  17-cv-2374(RRM)(ST)

 Wingfield Capital Corporation,
 Prestige Investment Associates, Inc.,
 d/b/a Prestige Investments USA, and
 First Choice Payment Systems, Inc.,
 d/b/a 1st Choice Payments,

                                 Corporate Defendants,

 Burgis Sethna, a/k/a Seth Burgess,
 Heath Wagenheim, Joseph Rabito,
 Damian Laljie a/k/a Damian Laltie,
 and John Does 1 through 15,

                                 Individual Defendants.
 -------------------------------------------------------------x

   (PROPOSED) ORDER GRANTING DEFENDANT’S MOTION TO SET
     ASIDE ENTRY OF DEFAULT PURSUANT TO FED. R. CIV. P. 55(c)

         Having considered Defendants Motion and finding good cause therefore,

         IT IS HEREBY ORDERED that Defendants Sethna, Wagenheim and

 Wingfield Capital Corporation’s Motion to Set Aside Entry of Default is GRANTED.




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         Notice of Motion and Motion to Set Aside Default Judgment Pursuant to FRCP 55(c)
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       Defendant is ORDERED to file an answer or a motion pursuant to Rule 12 of

 the Federal Rules of Civil Procedure by January _____, 2021.


 DATED: ___________________


                                       Signed: ______________________________

                                       Hon. ________________________




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       Notice of Motion and Motion to Set Aside Default Judgment Pursuant to FRCP 55(c)
